Case 1:19-cr-00018-ABJ Document 12-1 Filed 01/29/19 Page 1 of 2

IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA,

Vv. Case 1:19-cr-00018-ABJ

ROGER J. STONE, JR.

Defendant.

DECLARATION OF ROBERT BUSCHEL IN SUPPORT OF
MOTION FOR ADMISSION PRO HAC VICE

I, Robert Buschel, hereby declare:

1. My name, office address, and telephone number are as follows:
Robert C. Buschel
Buschel Gibbons, P.A.
One Financial Plaza, Suite 1300
100 S.E. Third Avenue
Fort Lauderdale, FL 33394
(954) 530-5301
Buschel@BGlaw-pa.com

2. Ihave been admitted to the following courts and bars:
Supreme Court of Florida (1995) (Fla. Bar No. 0063436)
Supreme Court of California (2010) (Cal. Bar No. 269354)
U.S. District Court for the Northern District of California
U.S. District Court for the Central District of California

3. | am currently in good standing with all states, courts, and bars in which I am admitted.
Case 1:19-cr-00018-ABJ Document 12-1 Filed 01/29/19 Page 2 of 2

4, I have been previously been admitted pro hac vice one time in this Court in Cockrum
et. al vy. Trump Campaign and Roger Stone, Case No. 1:17-cv-1370 (District Judge Huvelle), in
the last two years,

5. Ihave never been disciplined by any bar in which I was nor am a member.

6. I do not have an office located within the District of Columbia.

I declare under penalty of perjury that the foregoing is true and correct.

Executed in the District of Columbia this _29th_ day of January, 2019.

/s/ Robert Buschel
Robert C. Buschel
